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 1   DANIEL J. BRODERICK
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Research and Writing Attorney
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     BRIAN ARMENTA
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 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )     Case No. CR.S-07-249-LKK
11                                  )
                      Plaintiff,    )     STIPULATION AND ORDER
12                                  )     REQUESTING CONTINUANCE OF
               v.                   )     STATUS CONFERENCE AND
13                                  )     EXCLUSION OF TIME; ORDER
     BRIAN ARMENTA,                 )
14                                  )     Date: August 3, 2010
                      Defendant.    )     Time: 9:15 a.m.
15                                  )     Judge: Lawrence K. Karlton
     __________________________     )
16
17         IT IS HEREBY STIPULATED by and between the parties hereto
18   through their respective counsel, JASON HITT, Assistant United States
19   Attorney, attorney for Plaintiff, and RACHELLE BARBOUR, Assistant
20   Federal Defender, attorney for Defendant BRIAN ARMENTA, that the
21   current Status Conference hearing date of July 7, 2010, be continued to
22   August 3, 2010, at 9:15 a.m., and that time be excluded for preparation
23   of defense counsel.
24        This continuance is requested because defense counsel needs
25   additional time to discuss the case with the government, obtain a plea
26   agreement from the government, present it to Mr. Armenta, and discuss
27   all possible sentencing options with him.
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 1        Accordingly, the parties request that the Court exclude the time
 2   from the filing of this stipulation through August 3, 2010, at 9:15
 3   a.m., under 18 U.S.C. § 3161(h)(7)(B)(iv) and local code T4 (reasonable
 4   time to prepare).    The parties agree that the ends of justice to be
 5   served by a continuance outweigh the best interests of the public and
 6   the defendant in a speedy trial.
 7   DATED: June 30, 2010                   Respectfully submitted,
 8                                          DANIEL J. BRODERICK
                                            Federal Defender
 9
                                            /s/ Rachelle Barbour
10
                                            RACHELLE BARBOUR
11                                          Research and Writing Attorney
                                            Attorney for Defendant
12                                          BRIAN ARMENTA
13
     DATED: June 30, 2010                   BENJAMIN B. WAGNER
14                                          United States Attorney
15                                          /s/ Rachelle Barbour for
                                                Jason Hitt
16
                                            JASON HITT
17                                          Assistant U.S. Attorney
                                            Attorney for Plaintiff
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19
                                        O R D E R
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     IT IS SO ORDERED.
21
     DATED: July 7, 2010
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28                                           2
